Case 9:20-cv-80154-DMM Document 1 Entered on FLSD Docket 02/03/2020 Page 1 of 4



                             UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA
                               WEST PALM BEACH DIVISION


  EUGENE SCALIA,                                        )
  Secretary of Labor,                                   )                   FILE NO.
  United States Department of Labor,                    )
                                                        )            ___________________
                        Plaintiff,                      )
                                                        )
                 v.                                     )
                                                        )
  HORIZON CARE SERVICES, INC.,                          )               COMPLAINT
                                                        )             (Injunctive Relief Sought)
                        Defendant.                      )


                 Plaintiff Eugene Scalia, Secretary of Labor, United States Department of Labor

  (“Plaintiff”) brings this action pursuant to § 17 of the Fair Labor Standards Act of 1938, as

  amended, 29 U.S.C. § 201, et seq., hereinafter the “Act”, to have Defendant Horizon Care

  Services, Inc. (hereinafter referred to as “Defendant”) enjoined from violating the provisions of

  §§ 7 and 11 of the Act; and, pursuant to § 16(c) of the Act, 29 U.S.C. § 216(c), to recover unpaid

  wages, together with an equal amount as liquidated damages.

                                                   I

                 This Court has jurisdiction over this action pursuant to §§ 16(c) and 17 of the Act

  and 28 U.S.C. §§ 1331 and 1345.

                                                   II

                 Defendant Horizon Care Services, Inc., a corporation having a principal place of

  business in North Palm Beach, Florida, specifically, 784 US Hwy 1, Suite No. 15, at all times

  hereinafter mentioned has been engaged in home healthcare personnel staffing. Horizon Care

  Services, Inc., has additional offices in North Miami Beach and Deerfield Beach which are all
Case 9:20-cv-80154-DMM Document 1 Entered on FLSD Docket 02/03/2020 Page 2 of 4



  located in the state of Florida. Horizon Care Services, Inc., is an employer of the employees

  named in Appendix “A” attached hereto, all of whom work or worked for the Defendant.

                                                  III

                 At all times hereinafter mentioned:

                 A.      Defendant, engaged in related activities performed either through unified

  operation or common control for a common business purpose, constitutes an enterprise within

  the meaning of § 3(r) of the Act, 29 U.S.C. § 203(r); and

                 B.      Such enterprise, employing employees engaged in commerce or in the

  production of goods for commerce, or employees handling, selling or otherwise working on

  goods or materials that have been moved in or produced for commerce; and having an annual

  gross volume of sales made or business done of not less than $500,000 (exclusive of excise taxes

  at the retail level which are separately stated), constitutes an enterprise engaged in commerce or

  in the production of goods for commerce, within the meaning of § 3(s)(1)(A) of the Act, 29

  U.S.C. § 203(s)(1)(A).

                                                  IV

         Since at least November 12, 2015, Defendant has misclassified certain of their nurse

  registry employees as “independent contractors” and paid them a flat hourly rate, regardless of

  the number of hours worked per week. The misclassified employees worked as Home Health

  Aides and Certified Nursing Assistants, and one individual worked as a Licensed Practical

  Nurse. During all relevant times, many of these employees regularly worked hours in excess of

  forty in a workweek.




                                                   2
Case 9:20-cv-80154-DMM Document 1 Entered on FLSD Docket 02/03/2020 Page 3 of 4



                                                   V

         By the conduct described in Paragraphs IV above, Defendant repeatedly violated the

  provisions of §§ 7 and 15(a)(2) of the Act, 29 U.S.C. §§ 207 and 215(a)(2), by employing

  employees in an enterprise engaged in commerce or in the production of goods for commerce,

  for workweeks longer than 40 hours without compensating such employees for their employment

  in excess of such hours at rates not less than one and one-half times the regular rates at which

  they were employed.

                                                   VI

         By the conduct described in Paragraphs IV above, Defendant repeatedly violated the

  provisions of §§ 11(c) and 15(a)(5) of the Act, 29 U.S.C. §§ 211(c) and 215(a)(5), and

  Regulations found at 29 C.F.R. § 516 by failing to make, keep and preserve adequate and

  accurate records of the persons employed and of the wages, hours and other conditions and

  practices of employment maintained by them, as prescribed in the aforesaid Regulations.

                                                  VII

                 WHEREFORE, cause having been shown, Plaintiff prays for Judgment:

                 A.      Pursuant to § 17 of the Act, 29 U.S.C. § 217, permanently enjoining

  Defendants, their agents, servants, employees and all persons in active concert or participation

  with them from violating the provisions of §§ 7, 11(c), 15(a)(2) and 15(a)(5) of the Act;

                 B.      Pursuant to § 16(c) of the Act, 29 U.S.C. § 216(c), awarding back wages

  for a period of two years prior to the commencement of this action (plus any time tolled by

  agreement of the parties) and an additional equal amount as liquidated damages to employees (as

  named in Appendix “A” attached hereto and made a part hereof and such other employees as

  hereafter may be identified and named prior to or at trial);

                                                   3
Case 9:20-cv-80154-DMM Document 1 Entered on FLSD Docket 02/03/2020 Page 4 of 4



                 C.      And for such other and further relief as may be necessary and appropriate

  including costs of this action.

                                                              Respectfully submitted,

  ADDRESS:                                                    KATE S. O’SCANNLAIN
                                                              Solicitor of Labor
  Office of the Solicitor
  U. S. Department of Labor                                   TREMELLE I. HOWARD
  61 Forsyth Street, S.W.                                     Acting Regional Solicitor
  Room 7T10
  Atlanta, GA 30303                                           ROBERT L. WALTER
  (404) 302-5467                                              Counsel
  (404) 302-5438 (FAX)
  murray.winfield.w@dol.gov                                   By:/s/ Winfield W. Murray
  atl.fedcourt@dol.gov                                           WINFIELD W. MURRAY
                                                                 Trial Attorney
                                                                 Special Bar No. A5502618

                                                              Attorneys for Plaintiff.
  SOL Case No. 19-00226




                                                  4
